         Case 1:25-cv-01121      Document 1         Filed 04/15/25    Page 1 of 41




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

AHWAR SULTAN;
2026 Summit St
Columbus, OH 43201                              Civil Action No.: 1:25-cv-01121

STUDENTS FOR JUSTICE IN PALESTINE
at THE OHIO STATE UNIVERSITY,
Ohio State University
281 W Lane Ave
Columbus, OH 43210

                                  Plaintiffs,

                     v.

DONALD J. TRUMP, in his official capacity
as President of the United States;
White House
1600 Pennsylvania Avenue NW
Washington, DC 20500

MARCO RUBIO, in his official capacity as
Secretary of State of the United States;
U.S. Department of State
The Executive Office
Office of Legal Advisor, Suite 5.600
600 19th Street NW
Washington, DC 20522

PAMELA BONDI, in her official capacity as
Attorney General of the United States;
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security;
U.S. Department of Homeland Security
2707 Martin Luther King Jr. Ave, SE
Washington, DC 20528-0485

TODD M. LYONS, in his official capacity as
Acting Director of ICE
Office of the Principle Legal Advisor

                                                1
         Case 1:25-cv-01121          Document 1        Filed 04/15/25      Page 2 of 41




500 12th Street SW, Mail Stop 5906                PLAINTIFFS’ COMPLAINT FOR
Washington, D.C. 20536-5906                       DECLARATORY AND INJUNCTIVE
                                                  RELIEF
                                    Defendants.


                                        INTRODUCTION

   1.   This action arises from Defendants’ unconstitutional retaliation against Plaintiff’s

        protected political speech critical of Israeli policies. Defendants’ actions have directly

        violated Plaintiff’s rights under the First and Fifth Amendments, and the Administrative

        Procedure Act (APA).

   2.   Plaintiff Sultan is a full-time international student in lawful F-1 status, enrolled at The

        Ohio State University (“OSU”). He is one of hundreds, if not more, F-1 students

        nationwide whose Student and Exchange Visitor Information System (SEVIS) i record

        has been abruptly and unlawfully terminated by U.S. Immigration and Customs

        Enforcement (ICE) last week, effectively stripping them of their ability to remain a

        student in the United States.

   3.   Since 2023, along with hundreds of his peers, Plaintiff Sultan has participated in student

        protests, demonstrations and actions related to Israel’s military campaign in Gaza and

        the devastating toll it has taken on Palestinian civilians.

   4.   On April 25, 2024, hundreds of OSU students and community members engaged in a

        peaceful protest on The Ohio State University South Oval organized by the Students for

        Justice in Palestine at OSU, in part demanding OSU’s divestment from the State of

        Israel.

   5.   Media reports identified Plaintiff Sultan as one of the individuals arrested on the South

        Oval. Plaintiff Sultan was in attendance and formed a perimeter around praying students

        who were being advanced upon with batons by Ohio State Troopers.
                                                  2
               Case 1:25-cv-01121            Document 1           Filed 04/15/25        Page 3 of 41




       6.    Plaintiff Sultan was detained for nearly 12 hours before being released. His charges

             were dismissed pursuant to predisposition conditions and subsequently expunged. The

             dismissal was contingent on the completion of 10 hours of community service and the

             attendance of a workshop on civil discourse which he promptly completed.

       7.    Upon information and belief, Defendants were aware of Plaintiff’s speech and

             participation in protest activities through media coverage and arrest reports that were

             widely disseminated, explicitly linking Plaintiff Sultan to protected political speech and

             Palestinian advocacy.

       8.    On March 27, 2025, Secretary of State Marco Rubio announced at a press conference

             that the Department of State had revoked the visas of approximately 300 foreign

             students.

       9.    A week later, Plaintiff Sultan was informed by university administration that his SEVIS

             had been terminated for “otherwise failing to maintain status – individual identified in

             criminal records check and/or has had their VISA revoked.”

       10.    Critically, revocation of an F-1 visa alone does not constitute grounds for SEVIS

             termination for students already lawfully admitted, according to ICE’s own guidelines.

       11. Defendants’ actions are part of a larger pattern of government repression of

             constitutionally protected speech and protest.

       12. The government’s repression has hyper-focused on international students who speak out

             in solidarity with Palestinians and who are critical of the Israeli government’s ongoing

             military campaign in Gaza or the pro-Israeli policies of the U.S. government and other

             U.S. institutions.1


1
    See, e.g., Bianca Quilantan, Madine Touré, ‘They need to see the institutions experiencing pain’: The Trump


                                                           3
            Case 1:25-cv-01121             Document 1          Filed 04/15/25        Page 4 of 41




    13. Now, officials at the highest echelons of government are attempting to use immigration

          enforcement as a bludgeon to suppress speech that they dislike, including Plaintiff

          Sultan’s speech. To this end, Defendants have adopted a policy (“the Policy”) to

          retaliate against and punish noncitizens like Plaintiff Sultan for their participation in

          protests. Under the Policy, if Defendant Marco Rubio, the Secretary of State, claims

          reasonable ground to believe that a noncitizen protester’s presence or activities in the

          United States would have potentially serious adverse foreign policy consequences for

          the United States, or personally determines that their protected views, speech, or

          associations would compromise a compelling U.S. foreign policy interest, then such

          determinations—according to the government—permit the U.S. Department of

          Homeland Security (DHS) to seek to detain and deport the noncitizen protester.

    14. Defendants’ actions violate Plaintiff’s rights under the First Amendment and Fifth

          Amendment of the U.S. Constitution, the Administrative Procedure Act, the

          Immigration and Nationality Act, and its own policies. This Court should vacate and set

          aside Defendants’ Policy and the Rubio Determination, declare Defendants’ actions

          unlawful, and enjoin Defendants from detaining, transferring, or deporting Plaintiff

          Sultan unless Defendants establish that their actions are untainted by impermissible

          First Amendment retaliation and discrimination, and are otherwise lawful.

                                                   PARTIES



administration wants Columbia University to change its admissions and disciplinary rules before research money
gets turned back on., Politico (Mar. 15, 2025), available at https://www.politico.com/news/2025/03/15/colleges-
federal-funding-shock-trump-antisemitism-00231160;
 Kate Bellows, Can Trump Force Columbia U. to Expel Student Protesters?, Chronicle of Higher Education (Mar.
14, 2025), available at https://www.chronicle.com/article/can-trump-force-columbia-u-to-expel-student-protesters;
Kanishka Singh, Jonathan Allen, Trump Threatens Funding Cut to Colleges Allowing ‘Illegal Protests’, Reuters
(Mar. 4, 2025), available at https://www.reuters.com/world/us/trump-says-federal-funding-will-stop-colleges-
schools-allowing-illegal-protests-2025-03-04/.

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       Case 1:25-cv-01121        Document 1        Filed 04/15/25      Page 5 of 41




15. Plaintiff Ahwar Sultan (“Plaintiff Sultan”) is a citizen of India and currently resides in

     Columbus, Ohio. He is a second-year graduate student in Comparative Studies at The

     Ohio State University and has been admitted to the PhD program in History of Art.

16. Plaintiff Students for Justice in Palestine at The Ohio State University (“SJP”) is a

     student-led organization committed to advocating for Palestinian rights, raising

     awareness about human rights abuses, and promoting political and social discourse

     regarding Israel-Palestine. SJP members regularly engage in expressive activities

     protected by the First Amendment, including peaceful protests, educational events, and

     campus demonstrations.

17. Defendant DONALD J. TRUMP is named in his official capacity as the President of the

     United States of America. In this capacity, he is responsible for the policies and actions

     of the executive branch, including the U.S. Department of State and U.S. Department of

     Homeland Security.

18. Defendant MARCO RUBIO is the Secretary of the United States Department of State

     and is sued in his official capacity. He is responsible for determinations made pursuant

     to certain provisions of the immigration laws. Among other things, he has the authority

     to revoke issued visas pursuant to 8 U.S.C. § 1201(i). Following such a determination,

     the government may initiate removal proceedings under 8 U.S.C. § 1227(a)(1)(B).

19. Defendant PAMELA BONDI is the Attorney General of the United States and is sued in

     her official capacity. She is responsible for the administration of the immigration laws

     pursuant to 8 U.S.C. § 1103(g).

20. Defendant KRISTI NOEM is named in her official capacity as the Secretary of

     Homeland Security in the United States Department of Homeland Security. In this



                                             5
      Case 1:25-cv-01121          Document 1       Filed 04/15/25       Page 6 of 41




     capacity, she is responsible for the administration of the immigration laws pursuant to

     Section103(a) of the INA, 8 U.S.C. § 1103(a), and routinely transacts business in this

     District.

21. Defendant TODD M. LYONS is named in his official capacity as the Acting Director of

     Immigration and Customs Enforcement. As the Acting Director of ICE, he is

     responsible for the administration and enforcement of the immigration laws of the

     United States and routinely transacts business in this District.

                             JURISDICTION AND VENUE

22. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331; 28 U.S.C. §

     2241; and U.S. Constitution, Article I, § 9, cl. 2 (the Suspension Clause).

23. An actual and justiciable controversy exists between the parties under 28 U.S.C. § 2201,

     and this Court has authority to grant declaratory and injunctive relief. Id. §§ 2201, 2202.

     The Court has authority under the Administrative Procedure Act (“APA”), 5 U.S.C. §§

     701–06, and additional remedial authority under the All Writs Act, 28 U.S.C. § 1651.

24. Mr. Sultan does not challenge an underlying order of removal or actions committed to

     unreviewable agency discretion.

25. Mr. Sultan is challenging Defendants’ pattern and practice of targeting individuals

     associated with protests for Palestinian rights for immigration enforcement in retaliation

     for their core protected political speech.

26. This includes Defendants’ actions targeting Mr. Sultan.

27. No other forum exists to address these claims.

28. Applying any statutory provision to curb jurisdiction in this case therefore would

     deprive Mr. Sultan of any effective judicial review of his claims and a “serious



                                              6
      Case 1:25-cv-01121         Document 1        Filed 04/15/25      Page 7 of 41




     constitutional question . . .would arise if a federal statute were construed to deny any

     judicial forum for a colorable constitutional claim.” Webster v. Doe, 486 U.S. 592, 603

     (1988).

29. Venue is proper pursuant to 28 U.S.C. § 1391(e)(1)(A) because Defendant Donald J.

     Trump, resides in the District, and pursuant to 28 U.S.C. § 1391(e)(1)(B) because a

     substantial part of the events or omissions giving rise to the claim occurred in this

     District, namely, the formulation and promulgation of the challenged policies,

     procedures, and practices suspending the visa of Plaintiff.

                                LEGAL FRAMEWORK

30. A nonimmigrant visa controls a noncitizen’s admission into the United States, not their

     continued stay.

31. Congress established a statutory basis for student visas under 8 U.S.C. §

     1101(a)(15)(F)(i), requiring that a noncitizen engage in a full course of study to

     maintain nonimmigrant status.

32. Once admitted in F-1 status, a student is granted permission to remain in the United

     States for the duration of status (D/S) as long as they continue to meet the requirements

     established by the regulations governing their visa classification in 8 C.F.R. § 214.2(f),

     such as maintaining a full course of study and avoiding unauthorized employment.

33. The SEVIS is a centralized database maintained by the SEVP within ICE used to

     manage information on nonimmigrant students and exchange visitors and track their

     compliance with terms of their status. Under 8 C.F.R. § 214.3(g)(2), Designated School

     Officials (DSOs) must report through SEVIS to SEVP when a student fails to maintain




                                             7
      Case 1:25-cv-01121         Document 1       Filed 04/15/25      Page 8 of 41




     status. SEVIS termination is governed by SEVP policy and regulations. Termination

     must be based on a student’s failure to maintain status.

34. DHS regulations distinguish between two separate ways a student may fall out of status:

     (1) a student who “fails to maintain status,” and (2) an agency-initiated “termination of

     status.”

35. The first category, failure to maintain status, involves circumstances where a student

     voluntarily or inadvertently falls out of compliance with the F-1 visa requirements, for

     example by failing to maintain a full course of study, engaging in unauthorized

     employment, or other violations of their status requirements under 8 C.F.R. § 214.2(f).

     In addition, 8 C.F.R. §§ 214.1(e)–(g) outlines specific circumstances where certain

     conduct by any nonimmigrant visa holder, such as engaging in unauthorized

     employment, providing false information to DHS, or being convicted of a crime of

     violence with a potential sentence of more than a year, “constitutes a failure to maintain

     status.”

36. With the respect to the crime of violence category, 8 C.F.R. § 214.1(g) sets forth that a

     nonimmigrant’s conviction “for a crime of violence for which a sentence of more than

     one year imprisonment may be imposed (regardless of whether such sentence is in fact

     imposed) constitutes a failure to maintain status . . . .” Minor misdemeanor offenses do

     not meet this threshold for termination based on criminal history.

37. The second category, termination of status by DHS, can occur only under the limited

     circumstances set forth in 8 C.F.R. § 214.1(d), which only permits DHS to terminate

     status when: (1) a previously granted waiver under INA § 212(d)(3) or (4) [ 8 U.S.C. §

     1182(d)(3) or (4)] is revoked; (2) a private bill to confer lawful permanent residence is



                                             8
      Case 1:25-cv-01121         Document 1        Filed 04/15/25       Page 9 of 41




     introduced in Congress; or (3) DHS publishes a notification in the Federal Register

     identifying national security, diplomatic, or public safety reasons for termination. DHS

     cannot otherwise unilaterally terminate nonimmigrant status.

38. Accordingly, the revocation of a visa does not constitute failure to maintain status and

     cannot therefore be a basis for SEVIS termination. If a visa is revoked prior to the

     student’s arrival to the United States, then a student may not enter and the SEVIS record

     is terminated. However, the SEVIS record may not be terminated as a result of a visa

     revocation after a student has been admitted into the United States, because the student

     is permitted to continue the authorized course of study

39. ICE’s own guidance confirms that “[v]isa revocation is not, in itself, a cause for

     termination of the student’s SEVIS record.” Rather, if the visa is revoked, the student is

     permitted to pursue their course of study in school, but upon departure, the SEVIS

     record is terminated and the student must obtain a new visa from a consulate or

     embassy abroad before returning to the United States

40. While a visa revocation can be charged as a ground of deportability in removal

     proceedings, deportability can be contested in such proceedings.

41. The immigration judge may also even dismiss removal proceedings where a visa is

     revoked, so long as a student is able to remain in valid status.

42. Only when a final removal order entered would status be lost.

43. A student who has not violated their F-1 status, even if their visa is revoked, cannot

     have a SEVIS record terminated based on INA § 237(a)(1)(C)(i) [8 U.S.C. §

     1227(a)(1)(C)(i)] (failure to maintain status), INA § 237(a)(4)(C)(i) [8 U.S.C. §

     1227(a)(4)(C)(i)] (foreign policy grounds), or any deportability ground for that matter.



                                             9
         Case 1:25-cv-01121         Document 1       Filed 04/15/25      Page 10 of 41




                                       BACKGROUND

Plaintiff Ahwar Sultan

   44. Plaintiff Ahwar Sultan (“Plaintiff Sultan”) is a citizen of India and second year graduate

        student at The Ohio State University (“OSU”) in Columbus Ohio.

   45. As a graduate student at OSU, Plaintiff Sultan has worked as a Teaching Assistant for

        an Introduction to Humanities course, is a member of the Comparative Studies

        Department lecture committee which organizes colloquiums for undergraduate students

        to showcase their work, and is a member of the South Asia Graduate Studies

        Association, and was selected as a fellow for the Global Arts and Humanities Society

        slated to begin funded research this coming Fall.

   46. Part of his role as a teaching assistant includes engaging students freely and openly on

        course-related matters and discussions.

   47. On February 28, 2023, Plaintiff Sultan received his acceptance to OSU and was

        thereafter admitted on March 22, 2023.

   48. On April 22, 2023, OSU certified Plaintiff Sultan’s Form I-20, Certificate of Eligibility

        for Nonimmigrant Student Status, with the United States Citizenship and Immigration

        Services (“USCIS”), thereby confirming his admission and registration in SEVIS.

   49. Following the issuance and certification of Form, I-20, Plaintiff Sultan became eligible

        to apply for an F-1 student visa under 8 U.S.C. § 1101(a)(15)(F)(i), which he did on

        June 22, 2023.

   50. On or about July 17, 2023, the U.S. Department of State (“State Department”) approved

        Plaintiff Sultan’s student visa application after determining that he was statutorily

        eligible and posed no threat to national security. This decision reflected the State



                                                10
         Case 1:25-cv-01121            Document 1     Filed 04/15/25      Page 11 of 41




        Department’s conclusion that Plaintiff Sultan satisfied all requirements for admission

        under the Immigration and Nationality Act (“INA”) and that no grounds of

        inadmissibility applied to him.

   51. On August 6, 2023, Plaintiff Sultan entered the United States at John F. Kennedy

        International Airport, where he was inspected and lawfully admitted by U.S. Customs

        and Border Protection (“CBP”). His admission further confirmed the federal

        government’s prior determination that he met all legal requirements for entry and posed

        no national security threat.

   52. Since entering the United States on an F-1 visa, Plaintiff Sultan has traveled

        internationally and been lawfully re-admitted upon inspection by Customs and Border

        Protection on June 22, 2024, August 16, 2024, December 11, 2024, and January 12,

        2025.

   53. As a graduate student at OSU, Plaintiff Sultan has worked as a Teaching Assistant for an

        Introduction to Humanities course, is a member of the Comparative Studies Department

        lecture committee which organizes colloquiums for undergraduate students to showcase

        their work, is a member of the South Asia Graduate Studies Association, and was

        selected as a fellow for the Global Arts and Humanities Society slated to begin funded

        research this coming Fall.

   54. In addition to these activities, Plaintiff Sultan has felt moved to join efforts to advocate

        for Palestinian human rights.

   55. On October 9, 2023, Plaintiff Sultan joined a march on OSU campus organized by the

        Students for Justice in Palestine.

Plaintiff Sultan Activism and Political Speech on Campus



                                                11
           Case 1:25-cv-01121             Document 1           Filed 04/15/25         Page 12 of 41




    56.    He went on to join two marches on October 12, 2023 and October 21, 2023 in

          downtown Columbus.

    57. On October 25, 2023, Plaintiff Sultan participated in a student walk-out followed by a

          march.

    58. On October 26, 2023, Plaintiff Sultan attended an on-campus teach-in for Palestine.

    59. On November 20, 2023, Plaintiff Sultan attended a teach-in organized by the Faculty

          and Staff for Justice in Palestine at OSU.

    60. On February 8, 2024, Plaintiff Sultan attended a demonstration in the Ohio Union.

    61. On March 1, 2024, Plaintiff Sultan attended a vigil honoring Aaron Bushnell.

    62. On April 14, 2024, the South Asia Graduate Study Association, of which Plaintiff Sultan

          is a member, organized an event titled “Screenprinting for Palestine”.

    63. On April 23, 2024, Plaintiff Sultan attended and was photographed at a protest outside

          an OSU Trustees Board Meeting demanding the university divest from Israel. 2

    64. Plaintiff Sultan was not arrested or disciplined in relation to any of the above events.

Arrest at Peaceful Campus Protest

    65. On April 25, 2024, hundreds of OSU students and community members engaged in a

          peaceful protest on The Ohio State University South Oval, in part demanding OSU’s

          divestment from Israel.3

    66. The protest began around 6 pm, with students sitting in a circle, breaking bread and

          singing songs. As the evening wore on, The Ohio State University called upon police,


2
 The Ohio State University (@corsrev), Instagram (April 23, 2024), available at Central Ohio Revolutionary
Socialists (CORS) | Columbus Police arrest 2 students at a protest demanding the university divest from Israel
outside the Ohio State University Board of... | Instagram
3
 Ariana Smith, Josie Stewart, Christian Harsa, Meghan Beery, and Nora Igelnik, “Inside the Five-Hour Standoff
Between Police and Protesters on the South Oval”, The Lantern (April 26, 2024), available at Inside the five-hour
standoff between police and protesters on the South Oval

                                                        12
           Case 1:25-cv-01121            Document 1          Filed 04/15/25         Page 13 of 41




          along with state troopers who advanced on the crowd and began to brutalize protestors

          who were joined in prayer, arresting over three dozen and piling them into five arrest

          vehicles.

    67. Plaintiff Sultan was standing on the outer perimeter of the prayer circle when he was

          arrested as he was attempting to protect the Muslim students who were offering the

          Maghrib (sunset prayer).

    68. On April 29, 2024, OSU President Ted Carter provided various media outlets with the

          names of those arrested, including Plaintiff Sultan, and stated that “Ohio State’s campus

          will not be overtaken”.4

    69. Prior to this incident, Plaintiff Sultan had no disciplinary measures in relation to his

          academic progress, or arrests with local police.

    70. Following his arrest on April 25, 2024, Plaintiff Sultan’s charges were dismissed

          predisposition, and expunged. The dismissal was contingent on the completion of 10

          hours of community service and the attendance of a workshop on civil discourse.

    71. Plaintiff Sultan completed the necessary diversion requirements on October 25, 2024.

Continued Advocacy and Social Justice Engagement

    72. Undeterred by the attempt to suppress his speech, Plaintiff Sultan continued to attend

          actions and meetings in support of Palestinian human rights including but not limited to

          a Faculty and Staff for Justice in Palestine Meeting on April 29, 2024, and a Picket for

          Palestine on October 7, 2024.




4
 George Shillcock, “‘Ohio State’s campus will not be overtaken’: President Ted Carter defends protestor arrests”,
WOSU Public Media (April 29, 2024), available at 'Ohio State's campus will not be overtaken': President Ted Carter
defends protestor arrests | WOSU Public Media

                                                       13
           Case 1:25-cv-01121            Document 1         Filed 04/15/25        Page 14 of 41




    73. Plaintiff Sultan’s speech regarding the obligations that The Ohio State University has

          under international law, the human rights of the Palestinian people, and university

          restrictions on speech is all protected by the First Amendment, particularly as it relates

          to matter of public concern. It is political speech at the core of the protection of the First

          Amendment.

    74. In addition to the above, Plaintiff Sultan has been an outspoken member of his campus

          community on a multitude of social justice issues.

    75. On September 3, 2023 he attended an action in protest of the killing of Ta’Kiya Young

          by an Ohio police officer.5

    76. On December 3, 2024 he organized a tabling and screenprinting in memory of the 40 th

          anniversary of Bhopal Gas Tragedy. 6

    77. On February 23, 2025, Plaintiff Sultan attended a protest against Anduril, who plan to

          build a $1 billion weapons factory in Columbus, Ohio. 7

    78. On February 25, 2025, Plaintiff Sultan attended a teach-in and march for trans

          liberation.




5
  Michael Rubinkam and Samantha Hendrickson, “Ta’Kiya Young, killed by police in an Ohio parking lot, is
mouned along with her unborn child”, AP News (September 7, 2023), available at Ta’Kiya Young, killed by police
in an Ohio parking lot, is mourned along with her unborn child | AP News
6
 Mark Dummett, “Bhopal Gas Tragedy: 40 years of Injustice”, The Diplomat (December 2, 2024), available at
Bhopal Gas Tragedy: 40 years of Injustice - Amnesty International
7
 Ginny Richardson, Mike Gold Collective of Columbus, “Local residents protest planned weapons plant”,
Columbus Free Press (February 27, 2025), available at Local residents protest planned weapons plant |
ColumbusFreePress.com

                                                      14
             Case 1:25-cv-01121          Document 1          Filed 04/15/25         Page 15 of 41




       79. On February 27, 2025, Plaintiff Sultan engaged in and was photographed at a walk-out

            and protest against cuts to the Diversity Equity and Inclusion offices at The Ohio State

            University.8

       80. On February 28, 2025, Plaintiff Sultan attended and engaged in a sit-in at the Center for

            Social Change and Belonging at The Ohio State University.9

       81. On March 4, 2025, Plaintiff Sultan attended a faculty and staff protest at The Ohio State

            University against Senate Bill 1, which seeks to ban diversity, equity, and inclusion

            initiatives in higher education and prohibit faculty strikes. 10

       82. On March 11, 2025, the Education Department sent letters to 60 colleges and

            universities under investigation for alleged “relentless antisemitic eruptions”. The

            Trump administration warned this could result in enforcement actions if the probe found

            that the institution “failed to protect Jewish students on campus”. 11

       83. The Ohio State University was one of the 60 colleges that received the aforementioned

            letter from the Education Department. 12




8
 Samantha Madar, “President Ted Carter announces changes to DEI programs at Ohio State Senate meeting”, The
Columbus Dispatch (February 28, 2025), available at Ohio State University Senate meeting: Changes to DEI
programs
9
 Madison Macarthur, Chrissa Loukas, “Ohio State students protest university ending DEI programming”, Spectum
News 1 (February 28, 2025), available at OSU students protest university ending DEI programming

10
  Samantha Madar, “Ohio State students, faculty and staff protest over Senate Bill 1, The Columbus Dispatch
(March 4, 2025), available at Protest March 4, 2025, at Ohio State over SB1 and DEI cuts
11
  Ty Roush, “Trump Administration Investigates These 60 Colleges Over Antisemitism Allegations”, Forbes (March
11, 2025), available at Trump Investigates These 60 Schools For Alleged Antisemitism
12
     Id.


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           Case 1:25-cv-01121           Document 1          Filed 04/15/25        Page 16 of 41




     84. On March 27, 2025, Secretary of State Marco Rubio announced at a press conference

          that the Department of State had revoked the visas of approximately 300 foreign

          students.13

     85. Various university officials have indicated that the Trump administration is deploying

          the rarely-used risk-to-foreign policy immigration provision used to detain Mahmoud

          Khalil14 to now target students across the country.15

     86. ICE appears to be manually revoking students’ immigration status – an authority

          typically left to university staff.

Unlawful Termination of Plaintiff Sultan’s SEVIS Status

     87. On April 3, 2025 at 4:30 pm Plaintiff Sultan was notified through an email from the

          Office of International Affairs that his SEVIS record “has been terminated” for

          “otherwise failing to maintain status – individual identified in criminal records check

          and/or has had their VISA revoked”.

     88. The termination notice instructed Plaintiff Sultan to cease all F-1-related and campus

          employment immediately, effectively removing his ability to study or work.

     89. Plaintiff Sultan was informed, only days after Defendant Rubio’s press conference, that

          his SEVIS was terminated but was offered no additional information.




13
   Edward Wong, “Rubio Says He Has Revoked 300 or More Visas in Trump’s Deportation Push”, The New York
Times (March 28, 2025), available at Rubio Says He Has Revoked 300 or More Visas in Trump’s Deportation Push
- The New York Times
14
  Philip Marcelo, “What to know about Mahmoud Khalil, the Columbia protester arrested by ICE and facing
deportation”, AP News (March 11, 2025), available at Who is Mahmoud Khalil, the Columbia student activist
arrested by ICE? | AP News
15
  Prem Thakker, “SCOOP: ICE Revoking Students’ Immigration Statuses Without Their or the University’s
Knowledge”, Zeteo (March 29, 2025), available at SCOOP: ICE Revoking Students’ Immigration Statuses Without
Their or the University’s Knowledge

                                                      16
           Case 1:25-cv-01121             Document 1          Filed 04/15/25         Page 17 of 41




     90. In fact, the most recent search of Plaintiffs’ I-94 has no indication that there has been a

           revocation of any kind.

     91. This has created a sense of fear and uncertainty as Plaintiff Sultan is now living in fear,

           unsure of whether he will be detained at any moment by ICE due to his protected

           speech.

     92. On April 8, 2025, OSU President Ted Carter sent a message to the OSU campus

           community stating in part that “We were not formally notified of these actions by the

           government, nor have we received any information about why the students’ visas were

           revoked.”16

     93. Defendants' failure to offer notice of the visa revocation extended to the University

           wherein Plaintiff was enrolled, further limiting his ability and opportunity to respond to

           the revocation in a way that would protect his due process rights.
     94.
           On April 9, 2025, USCIS announced that it will begin considering aliens’ social media

           activity in determining immigration benefits. “There is no room in the United States for

           the rest of the world’s terrorist sympathizers, and we are under no obligation to admit

           them or let them stay here,” said DHS Assistant Secretary for Public Affairs Tricia

           McLaughlin. “Sec. Noem has made it clear that anyone who thinks they can come to

           America and hide behind the First Amendment to advocate for anti-Semitic violence

           and terrorism – think again. You are not welcome here.” 17




 “A message from President Carter on international student visas”, Ohio State News (April 8, 2025), available at A
16
message from President Carter on international student visas

17“DHS to Begin Screening Aliens’ Social Media Activity for Antisemitism”, US. Citizenship and Immigration
Services (April 9, 2025), available at DHS to Begin Screening Aliens’ Social Media Activity for Antisemitism |
USCIS

                                                        17
         Case 1:25-cv-01121            Document 1       Filed 04/15/25    Page 18 of 41




   95. Defendants continue to insist on conflating actions and speech taken in support of

         Palestinian human rights with antisemitism18 and openly proclaim that the First

         Amendment and principles of freedom of speech does not apply to non-citizens.

   96. This consistent conflation extends to both recent Executive Orders and Policy wherein

         advocacy for Palestinians is criminalized.

   97. There is a clear causal connection between the actions and policy objectives of

         Defendants as they relate to Plaintiffs’ ability to freely express themselves, assemble,

         and associate.

Plaintiff Students for Justice in Palestine (SJP)

   98. Plaintiff Students for Justice in Palestine at The Ohio State University (SJP) is a

         registered student organization at Ohio State University, whose purpose is to educate the

         campus community about human rights issues facing Palestinians, advocate for

         Palestinian self-determination, and promote public discourse on U.S. foreign policy

         regarding Israel-Palestine.

   99. SJP engages in expressive activities protected by the First Amendment, including

         organizing peaceful protests, demonstrations, teach-ins, lectures, and other educational

         events.

   100. Plaintiff Sultan is an active member of SJP who regularly participates in, organizes, and

         publicly advocates for the organization's events and activities. Sultan’s advocacy, public

         visibility, and leadership in SJP activities, such as campus demonstrations and protests

         critical of Israeli policies, are central to SJP’s mission.




18 HYPERLINK "https://www.jewishvoiceforpeace.org/2023/11/09/antisemitism-dangerous/"On
Antisemitism, Anti-Zionism and Dangerous Conﬂations - JVP

                                                  18
      Case 1:25-cv-01121         Document 1       Filed 04/15/25      Page 19 of 41




101. Defendants’ retaliatory and discriminatory immigration enforcement actions against

     Plaintiff Sultan directly interfere with and substantially burden SJP’s organizational

     mission, activities, and its members’ protected rights of speech and association.

     Defendants’ targeted enforcement creates an environment of fear, intimidation, and self-

     censorship, undermining SJP’s ability to conduct advocacy and education concerning

     Palestinian human rights effectively.

102. As a direct consequence of Defendants’ actions, SJP has been forced to divert

     significant organizational resources to address concerns related to members’ safety,

     immigration status, and legal defense, instead of furthering its core expressive and

     educational activities. This diversion of resources constitutes concrete injury sufficient

     to confer organizational standing.

103. Additionally, the targeting and intimidation of active SJP members such as Plaintiff

     Sultan have deterred current and prospective members from participating fully and

     freely in organizational activities and advocacy, leading to decreased member

     participation and engagement.

104. As a direct result of the recent Executive Orders, the SJP communities’ willingness to

     engage in SJP events and actions has been profoundly affected – turnout has plummeted

     from hundreds, sometimes thousands, to just a handful of participants.

105. This chilling effect on SJP members' willingness and ability to associate and advocate

     on controversial matters of public concern represents a tangible injury to SJP’s

     organizational effectiveness and associational interests.

106. SJP thus brings this action both on its own behalf, asserting injury to its organizational

     mission, expressive activities, and associational rights, and in a representative capacity



                                             19
           Case 1:25-cv-01121             Document 1          Filed 04/15/25         Page 20 of 41




          on behalf of its members, including Plaintiff Sultan, whose constitutionally protected

          rights have been and continue to be threatened by Defendants’ retaliatory immigration

          actions. SJP has associational standing because: (a) its members would otherwise have

          standing to sue in their own right; (b) the interests it seeks to protect through this

          litigation are germane to its purpose and mission; and (c) neither the claims asserted nor

          the relief requested require the participation of individual members in this lawsuit.

     107. Consequently, Defendants’ conduct in targeting SJP members like Sultan directly

          infringes on the First Amendment rights of the organization itself, undermines its ability

          to fulfill its advocacy mission, and significantly disrupts the protected expressive and

          associational activities that lie at the heart of its organizational purpose.

     Defendant Trump Campaigns on Pledge to “Deport” Students for Protest Activity

     108. During the 2024 presidential campaign, Defendant Trump repeatedly vowed to deport non-

          citizen students who participate in protest activity. On or about October 28, 2023, he told

          the Republican Jewish Coalition, “All of the resident aliens who joined in the pro-jihadist

          protest this month, nobody’s ever seen anything like it. Come 2025, we will find you and

          we will deport you.”19

     109. On May 14, 2024, he told reporters, “Any student that protests, I throw them out of the

          country… As soon as they hear that, they’re going to behave.” He described campus

          protests as a “radical revolution” and promised, “we’re going to set that movement back 25

          or 30 years.”20




19
  Khaleda Rahman, “Donald Trump’s Orde to Deport Pro-Palestinian Activists Explained”, Newsweek (January 30,
2025), available at Donald Trump's Order to Deport Pro-Palestinian Activists Explained - Newsweek
20
  Lexi Lonas Chochran, “Trump threatens to stop funding for any colleges allowing ‘illegal protests’”, The Hill
(March 4, 2025), available at Donald Trump threatens to stop funding for colleges allowing 'illegal protests'

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           Case 1:25-cv-01121           Document 1         Filed 04/15/25       Page 21 of 41




     110. At a rally in Wildwood, New Jersey, he declared, “If you come from another country and

          try to bring Jihadism or anti-Americanism or anti-Semitism to our campuses, we will

          immediately deport you.”21

     Defendant Trump Issues Executive Orders

EO 1: “Protecting the United States from Terrorists and National Security and Public Safety

Threats

     111. Section 1(a) of EO 1 states that it is the policy of the federal government “to protect its

          citizens from aliens who intend to commit terrorist attacks, threaten our national security,

          espouse hateful ideology, or otherwise exploit the immigration laws for malevolent

          purposes.” Exec. Order No. 14161, 90 Fed. Reg. 8451 (Jan. 30, 2025).

     112. Section 1(b) further states that, in order “[t]o protect Americans . . . the United States must

          ensure that admitted aliens and aliens otherwise already present in the United States do not

          bear hostile attitudes toward its citizens, culture, government, institutions, or founding

          principles, and do not advocate for, aid, or support designated foreign terrorists and other

          threats to our national security.” Id.

     113. Section 2 of EO 1 implements enhanced vetting of the speech and political opinions of non-

          citizens. As relevant to Plaintiff:

             a. Section 2(a)(i) requires Defendant Noem, the Attorney General, and the Director of

                 National Intelligence to “promptly . . . identify all resources that may be used to

                 ensure that all aliens . . . who are already in the United States, are vetted and screened

                 to the maximum degree possible.” Id.




21
  Simone Weichselbaum, “Trump’s plan to quell protests: ‘Deport pro-Hamas radicals’”, NBC News (August 13,
2024), available at Trump's plan to quell protests: 'Deport pro-Hamas radicals'

                                                     21
         Case 1:25-cv-01121          Document 1         Filed 04/15/25       Page 22 of 41




          b. Section 2(a)(ii) mandates the same officials to “ascertain whether [an] individual

              seeking [an immigration] benefit is . . . not a security or public safety threat.” Id.

          c. Section 2(a)(iv) requires the officials to “vet and screen to the maximum degree

              possible all aliens who . . . are already inside the United States.” Id.

   114. Section 3 requires the Secretary of State, in coordination with Defendant Noem, the

        Attorney General and the Director of National Intelligence, to “[r]ecommend any actions

        necessary to protect the American people from the actions of foreign nationals who have

        undermined or seek to undermine the fundamental constitutional rights of the American

        people, including but not limited to, our Citizens’ rights to freedom of speech and the free

        exercise of religion protected by the First Amendment, who preach or call for sectarian

        violence, the overthrow or replacement of the culture on which our constitutional Republic

        stands, or who provide aid, advocacy, or support for foreign terrorists.” (Emphasis added).

        Id. These recommendations were due no later than February 19, 2025, but as of the date of

        this filing, they have not been made public.

EO 2: “Additional Measures to Combat Anti-Semitism”

   115. Section 1 of EO 2 includes a preamble attacking “the prior administration” for failing to

        take steps to “protect American Jews,” and declaring that “this failure is unacceptable and

        ends today.” Exec. Order No. 14188, 90 Fed. Reg. 8847 (Feb. 3, 2025).

   116. Section 2 states: “It shall be the policy of the United States to combat anti-Semitism

        vigorously, using all available and appropriate legal tools, to prosecute, remove, or

        otherwise hold to account the perpetrators of unlawful anti-Semitic harassment and

        violence.” Id.




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           Case 1:25-cv-01121            Document 1         Filed 04/15/25        Page 23 of 41




     117. Section 3 requires Defendants Rubio and Noem, in consultation with the Secretary of

          Education, to issue a report within 60 days to “identify[] all civil and criminal authorities or

          actions within the jurisdiction of” each agency to “combat anti-Semitism.” Id.

     118. Section 3(e) authorizes the Attorney General to make “recommendations for familiarizing

          institutions of higher education with the grounds for inadmissibility under 8 U.S.C. §

          1182(a)(3) so that such institutions may monitor for and report activities by alien students

          and staff relevant to those grounds and for ensuring that such reports about aliens lead, as

          appropriate and consistent with applicable law, to investigations and, if warranted, actions

          to remove such aliens.” Id.

     119. High-ranking officials from the Department of Justice have recently indicated Defendants’

          intent to prosecute individuals and subject them to lengthy prison sentences pursuant to EO

          2. This threat is imminent. At the end of February 2025, Senior Counsel to the Assistant

          U.S. Attorney for Civil Rights Leo Terrell told Israel’s Channel 12 News: “You see all

          these disorderly demonstrations, supporting Hamas and trying to intimidate Jews? We are

          going to put these people in jail — not for 24 hours, but for years.” 22 He added, “a lot is

          going to happen in the next four to five weeks” and that once protestors face a threat of jail

          time, “it will stop. Id.

     120. On February 28, 2025, the U.S. Department of Justice’s Task Force to Combat Anti-

          Semitism announced it would begin “meet[ing] with university leadership, impacted

          students and staff, local law enforcement, and community members as it gathers




22
  Jewish News Syndicate, DOJ Antisemitism Task Force: We’ll Put Hamas Supporters in Jail ‘for Years’,
NEWSMAX (Feb. 26, 2025, 9:18 AM), https://www.newsmax.com/us/hamas-terrorists-
antisemitic/2025/02/26/id/1200545/


                                                      23
           Case 1:25-cv-01121             Document 1           Filed 04/15/25         Page 24 of 41




          information” about protest activity and alleged “anti-Semitic” activity on campuses in

          preparation for possible prosecution.23

     Executive Orders Impose Chilling Effect on Plaintiff and similarly positioned students

     121. Relying on these executive orders, groups and organizations opposed to Palestinian

          rights protests began publicizing names of individuals they wanted the U.S. government

          to deport. The groups compiled lists of students who were publicly identifiable as

          having organized Palestine-related protests, engaged in Palestine-related advocacy, or

          otherwise appeared to voice opinions supportive of Palestinians, and upon information

          and belief, submitted these tips to ICE’s tip line.24

     122. For example, Betar USA25, an extremist group that has openly embraced

        Islamophobia and indicated a desire to work with the far-right extremist group the Proud

        Boys, has published lists of individuals, including Columbia students and faculty, urging

        ICE to deport them under the executive orders. In a statement to a media outlet, Betar

        stated that it had “already submitted names of hundreds of terror supporters to the Trump

        Administration.”26 Betar USA’s Executive Director has met with prominent lawmakers




23
  Press Release, U.S. Dep’t of Justice, Federal Task Force to Combat Antisemitism Announces Visits to 10 College
Campuses that Experienced Incidents of Antisemitism (Feb. 28, 2025), https://www.justice.gov/opa/pr/federal-task-
force-combat-antisemitism-announces-visits-10-college-campuses-experienced.
24
  Natasha Lennard & Akela Lacy, The Columbia Network Pushing Behind the Scenes to Deport and Arrest Student
Protestors, The Intercept (Feb. 15, 2025), available at https://theintercept.com/2025/02/15/columbia-alumni-israel-
whatsapp-deport-gaza-protesters/.
25
  Betar is a self-described “Zionist” movement. See https://betarus.org/. The Anti-Defamation League has labeled
Betar USA an extremist group.

26
  Nicholas Liu, A pro-Israel group says it gave the Trump administration a list of students to deport, Salon.com
(Jan. 31, 2025), available at https://www.salon.com/2025/01/31/pledged-to-deport-pro-palestine--and-a-pro-israel-
group-has-already-made-a-list/.


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           Case 1:25-cv-01121              Document 1           Filed 04/15/25         Page 25 of 41




         and claims credit for providing information that led to the arrest of Columbia student,

         Mahmoud Khalil, who held lawful permanent resident status.27

     123. Canary Mission, an organization dedicated to targeting students, student

         organizations, and faculty who advocate for Palestinian rights, has similarly proclaimed it

         has identified “suspected foreign nationals” at Columbia University that it would like to

         see deported. Id.

     124. Predictably, this resulted in widespread fear of retaliation for pro-Palestine speech

          among noncitizen students. Reporting has shown that the executive orders “already

          appear to be chilling political activism.”28

     125. On or before Wednesday March 5, 2025, Defendants adopted the Policy by which they

          would retaliate against and punish noncitizens, including Plaintiff Sultan, for their

          actual or perceived advocacy for Palestinian rights.

     126. Under the Policy, Defendant Rubio, the Secretary of State, and the Department of

          Homeland Security would seek to identify any noncitizen associated with protests

          supportive of Palestinian human rights. One way to target individuals would be to

          identify any noncitizen who had been arrested during protests associated with

          Palestinian rights advocacy on campuses, regardless of whether they had participated in

          the protest, their actual activity during any protest, the nature of any of the conduct

          charged, or the ultimate outcome or disposition of any of these arrests.



27
  Anna Betts, Pro-Israel group says it has ‘deportation list’ and has sent ‘thousands’ of names to Trump officials,
The Guardian (March 14, 2025), available at https://www.theguardian.com/us-news/2025/mar/14/israel-betar-
deportation-list-trump .
28
  Tovia Smith, Foreign students say the threat of Trump’s executive orders is getting real, NPR (Mar. 3, 2025),
available at https://www.npr.org/2025/03/03/nx-s1-5307187/trump-executive-order-visa-pro-palestinian-
foreignstudents-protests-hamas-hezbollah-israel.


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           Case 1:25-cv-01121             Document 1          Filed 04/15/25         Page 26 of 41




     127. Under the Policy, the Secretary of State would also identify noncitizen students or

          faculty generally associated with pro-Palestine protests on campuses, or who espoused

          views supportive of Palestinian human rights.

     128. Under the Policy, Defendant Rubio is empowered to determine that a noncitizen’s

          presence or activities in the United States would have potentially serious foreign policy

          consequences for the United States or to “personally” determine that a noncitizen’s

          protected expressive activity would compromise a compelling U.S. foreign policy

          interest. These determinations would then permit the Department of Homeland Security

          to seek to detain and deport the protester.

     129. On March 6, 2025, the Department of State confirmed the commencement of this Policy

          to the press.

     130. Specifically, on March 6, 2025, the Department of State informed Fox News that it had

          revoked the student visa of a noncitizen who was “cited for criminal behavior in

          connection with Hamas-supporting disruptions. This individual was a university

          student. ICE will proceed with removing this person from the country.” 29

     131. The Department of State confirmed it was planning to review internal databases to see

          whether any visa holders were arrested and had not been subjected to immigration

          enforcement.30




29
   Louis Casiano, Bill Melugin, State Department revokes first visa of foreign student linked to “Hamas-supporting
disruptions,” Fox News (Mar. 6, 2025), available at https://www.foxnews.com/politics/state-department-revokes-
first-visa-foreign-student-linked-hamas-supporting-disruptions.

30
  Marc Caputo, Scoop: State Dept. to use AI to revoke visas of foreign students who appear “pro-Hamas,” Axios
(Mar. 6, 2025), available at https://www.axios.com/2025/03/06/state-department-ai-revoke-foreign-student-visas-
hamas.


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         Case 1:25-cv-01121        Document 1        Filed 04/15/25      Page 27 of 41




   132. Additionally, on March 6, 2025, the Department of State announced a program called

        “Catch and Revoke,” an artificial intelligence driven effort to “cancel the visas of

        foreign nationals who appear to support Hamas or other designated terror groups.

   133. Government officials confirmed that they would conduct an AI-assisted review of “tens

        of thousands of student visa holders’ social media accounts,” to look for evidence of

        “alleged terrorist sympathies.” The announcement did not clarify how the government

        would determine someone held “terrorist sympathies.”

History of the Foreign Policy Ground

   134. Under the immigration laws, the Secretary of State has been granted wide latitude to

        refuse entry or deport noncitizens if he has “reasonable grounds to believe” that their

        presence or activities “would have potentially serious adverse foreign policy

        consequences for the United States.” See 8 U.S.C. § 1227(a)(4)(C)(i) (referencing 8

        U.S.C. § 1182(a)(4)(C)(i)).

   135. The statute expressly forbids the Secretary of State from issuing a policy or decision to

        deny entry or initiate deportation based on a noncitizen’s “past, current, or expected

        beliefs, statements, or associations, if such beliefs, statements, or associations would be

        lawful within the United States,” unless the Secretary “personally determines” that

        admitting the individual or allowing them to remain in the United States would

        compromise a compelling U.S. foreign policy interest, 8 U.S.C. § 1182(a)(3)(C)(iii),

        and then notifies certain leaders in Congress of the person’s identity and the reasons for

        the determination, 8 U.S.C. § 1182(a)(3)(C)(iv).

   136. Legislative history confirms that Congress intended to limit the Executive’s authority to

        exclude noncitizens based on their speech or beliefs. A Senate Committee report



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           Case 1:25-cv-01121             Document 1          Filed 04/15/25         Page 28 of 41




          provides that for years “the United States has embarrassed itself by excluding prominent

          foreigners from visiting the United States solely because of their political beliefs.” The

          amendments which resulted in the current version of the law were intended “to take

          away the executive branch’s authority to deny visas to foreigners solely because of the

          foreigner’s political beliefs or because of his anticipated speech in the United States.”31

Existing DHS Guidance Concerning First Amendment Activity

    137. In 2019, during the first Trump Administration, DHS Acting Secretary Kevin

          McAleenan issued guidance to all DHS employees specifically concerning First

          Amendment protected activities.32 Per that memorandum, the prior Trump

          Administration directed that “DHS does not profile, target, or discriminate against any

          individual for exercising his or her First Amendment rights.”

    138. In 2021, then-Secretary of Homeland Security Alejandro Mayorkas issued guidance to

          ICE providing that “[a] noncitizen’s exercise of their First Amendment rights . . .should

          never be a factor in deciding to take enforcement action.”33

    139. As of the date of filing, DHS has yet to rescind the Mayorkas 2021 Guidance, or issue

          new guidance that addresses consideration of First Amendment rights as a factor in

          enforcement actions.

                                          CLAIMS FOR RELIEF



31 S. Rep. No. 100-75 at 11, 100th Cong., 1st Sess. (1987) (reprinted in 1990 U.S.C.C.A.N. 6784, 6794).


32 See Memorandum from Kevin McAleenan, Sec’y, U.S. Dep’t of Homeland Sec., to all DHS Employees (May 17,
2019), available at https://www.dhs.gov/sites/default/files/publications/info_regarding_first_amendment_
protected_activities_as1_signed_05.17.2019.pdf.


33 See Memorandum from Alejandro N. Mayorkas, Sec’y, U.S. Dep’t of Homeland Sec., to Tae D. Johnson, Acting
Dir., U.S. Immigr. & Customs Enf’t 5 (Sept. 30, 2021), available at
https://www.ice.gov/doclib/news/guidelinescivilimmigrationlaw.pdf.


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      Case 1:25-cv-01121          Document 1        Filed 04/15/25      Page 29 of 41




           Count 1: Violation of the First Amendment Right to Free Speech

                          (U.S. Constitution, First Amendment)

                                  On Behalf of All Plaintiffs

140. Plaintiff hereby incorporates by reference the allegations contained in each and every

     preceding paragraph, as if fully set forth herein.

141. The First Amendment to the U.S. Constitution provides in part that “Congress shall

     make no law . . . abridging the freedom of speech . . . or the right of the people . . . to

     petition the Government for a redress of grievances.” U.S. Const. Amend. I.

142. The Orders have imposed an unconstitutional chilling effect on all Plaintiffs’ right to free

     speech. The First Amendment protects “people” and not citizens alone. U.S. Const. Amend.

     I. This includes non-citizens living in the U.S. “Freedom of speech and of press is accorded

     [non-citizens] residing in this country.” Bridges v. Wixon, 326 U.S. 135, 148 (1945).

143. The First Amendment protects past and future speech. Fairley v. Andrews, 578 F.3d

     518, 525 (7th Cir. 2009) (“The first amendment protects speakers from threats of

     punishment that are designed to discourage future speech.”); Saleh v. City of New York,

     No. 06 Civ. 1007(SHS), 2007 WL 4437167, at *3 (S.D.N.Y Dec. 17, 2007) (noting that

     First Amendment retaliation claims can be brought “alleging punishment for past

     speech and those complaining of suppression of future speech”). The First Amendment

     protects “[t]he rights to complain to public officials and to seek administrative and

     judicial relief.” Gagliardi v. Village of Pawling, 18 F.3d 188, 194 (2d Cir.1994). The

     First Amendment applies to actions taken against people in custody, Gill v. Pidlypchak,

     389 F.3d 379 (2d Cir. 2004), and those threatened with deportation, Ragbir v. Homan,

     923 F.3d 53, 66 (2d Cir. 2019) (internal citations omitted), cert. granted, remanded, and

     vacated sub nom.on other grounds, Pham v. Ragbir, 141 S. Ct. 227 (2020).

                                              29
      Case 1:25-cv-01121         Document 1       Filed 04/15/25      Page 30 of 41




144. Courts have recognized that retaliation against noncitizens exercising protected speech

     violates constitutional protections. See Ragbir v. Homan, 923 F.3d 53, 66 (2d Cir.

     2019).

145. It is well-settled that the First Amendment protects against retaliation even where the

     government “mistakenly thought that the [individual] had engaged in protected speech”

     because “the government’s reason . . . is what counts[.]” Heffernan v. City of Paterson,

     578 U.S. 266, 272 (2016). This rule applies where the government’s factual mistake

     pertains to participation in protest activity, Hughes v. City of New York, 680 F. App’x 8,

     9–10 (2d Cir. 2017) (applying Heffernan to protected association claim arising from

     protest); see also Zehner v. Jordan-Elbridge Bd. of Educ., 666 F. App’x 29, 30 (2d Cir.

     2016) (applying Heffernan to associational activity), and even where that individual did

     not actually engage in protected conduct. See McNichol v. Falco, No. 16-cv-2119, 2020

     WL 5802492, at *11 (S.D.N.Y. Sept. 28, 2020) (“[A] perceived protected activity, in

     the absence of an actual protected activity, can nevertheless give rise to an actionable

     First Amendment [] claim.”); Burgess v. Banasike, 636 F. Supp. 3d 351, 359 (W.D.N.Y.

     2022) (“[A] plaintiff need not actually engage in protected conduct[.]”).

146. Speech on matters of public concern is entitled to the highest level of protection under

     the First Amendment. See, e.g., Gentile v. State Bar of Nev., 501 U.S. 1030, 1034

     (1991) (“[S]peech critical of the exercise of the State’s power lies at the very center of

     the First Amendment.”). Moreover, government action that targets private speech based

     on the viewpoint taken by the speaker is an egregious form of content discrimination

     and presumptively unconstitutional. See Matal v. Tam, 582 U.S. 218, 234 (2017).




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      Case 1:25-cv-01121          Document 1        Filed 04/15/25       Page 31 of 41




147. “To state a First Amendment retaliation claim, a plaintiff must show that: ‘(1) he has a

     right protected by the First Amendment; (2) the defendant’s actions were motivated or

     substantially caused by [the plaintiff's] exercise of that right; and (3) the defendant’s

     actions caused [the plaintiff] some injury.’” Ragbir, 923 F.3d at 66 (internal citations

     omitted).

148. In addition, “the Constitution prevents governmental actors from forbidding, or

     penalizing, speech that is protected under the first amendment . . . . Threatening

     penalties for future speech goes by the name ‘prior restraint,’ and a prior restraint is the

     quintessential first-amendment violation.” Fairley, 578 F.3d at 525. To establish a claim

     of an unconstitutional “prior restraint” on future testimony, a plaintiff must show (1)

     that defendants presented “threats of punishment that are designed to discourage” the

     future testimony, (2) “that [plaintiff’s] potential testimony . . .caused the . . .threats,”

     and (3) that the defendants actions caused some injury. Id.

149. Plaintiff Sultan’s speech is protected by the First Amendment.

150. Plaintiff Sultan’s past speech pertains to matters of prominent public concern, including

     the ongoing Israeli military campaign in Gaza, U.S. government support therefor, U.S.

     academic institutions’ financial investments associated with Israel, and campus

     responses to advocacy for the rights of Palestinians.

151. Defendants are aware of Plaintiff Sultan’s speech and viewpoints. Defendants are aware

     that Plaintiff Sultan was arrested at a protest on the South Oval at OSU. The arrests

     were covered in the press, and Plaintiff Sultan was fingerprinted after the arrest, which

     would have alerted ICE to the arrest.

152. Defendants’ actions come months after this protest and arrest.



                                              31
      Case 1:25-cv-01121          Document 1        Filed 04/15/25       Page 32 of 41




153. There is a substantial causal connection between Plaintiff Sultan’s protected speech and

     Defendants’ adverse actions and threats.

154. Defendants have taken adverse actions against Plaintiff Sultan that are motivated by his

     past and future exercise, and perceived exercise, of First Amendment-protected speech,

     and have taken action to silence and discourage Plaintiff Sultan from speaking out in the

     future.

155. By threatening deportation of non-citizens and criminal prosecution of U.S. citizen who

     protest Israel and Israeli actions in Palestine, the language of executive orders combined

     with Defendant Trump and high-ranking officials in the Department of Justice have had an

     immediate chilling effect on the speech and activity of Plaintiffs, who despite a past pattern

     and practice of attending protests and criticizing the U.S. government and government of

     Israel have significantly limited such activity in the weeks following the promulgation of

     the Orders for fear of being arrested, prosecuted, jailed, or deported.

156. Plaintiff engaged in protected political speech by participating in peaceful protests

     critical of Israeli government policy. Defendants retaliated by revoking Plaintiff’s visa

     and terminating his SEVIS record.

               Count 2: Violation of the First Amendment Right to Association

                            (U.S. Constitution, First Amendment)

                                  On Behalf of All Plaintiffs

157. Plaintiffs hereby incorporate by reference the allegations contained in each and every

     preceding paragraph, as if fully set forth herein.

158. All plaintiffs have a First Amendment right to associate with individuals who possess

     views that are critical of the U.S. government, its institutions, policies, American

     “culture,” or whose views are critical of the Israeli government. “When it comes to the

                                              32
      Case 1:25-cv-01121         Document 1        Filed 04/15/25      Page 33 of 41




     freedom of association, the protections of the First Amendment are triggered not only

     by actual restrictions on an individual’s ability to join with others to further shared

     goals. The risk of a chilling effect on association is enough, ‘[b]ecause First

     Amendment freedoms need breathing space to survive.’” Ams. For Prosperity Found.

     V. Bonta, 594 U.S. 595, 609 (2021) (Quoting NAACP v. Button, 371 U. S. 415, 433

     (1963)).

159. By barring non-citizens from criticizing the U.S. government, its institutions, its

     policies, American culture, and the government of Israel, the orders have chilled

     Plaintiffs and their professor-colleagues and fellow students from interacting, meeting,

     holding discussions or publicly associating with one another. This implicates each

     Plaintiff’s associational rights, regardless of alienage. Because EO 1 announced that

     Defendants are surveilling all non-citizens in the U.S. to monitor their political views,

     Plaintiff Sultan possesses a reasonable fear that associating with local activists may

     constitute an “anti-American” act in itself, thereby subjecting him to possible negative

     immigration consequences. And because EO2’s criminal prosecution provision applies

     to citizens as well as non-citizens, all Plaintiffs fear that Defendants might interpret

     their association with one another as proof of activity that falls under the ambit of that

     order. This has produced an unconstitutional chilling effect on all Plaintiffs’ right to

     freely and publicly associate with one another.

       Count 3: Violation of the First Amendment – Vagueness and Overbreadth

                           (U.S. Constitution, First Amendment)

                                 On Behalf of All Plaintiffs




                                             33
      Case 1:25-cv-01121         Document 1        Filed 04/15/25       Page 34 of 41




160. Plaintiffs hereby incorporate by reference the allegations contained in each and every

     preceding paragraph, as if fully set forth herein.

161. Both executive orders are unconstitutionally vague and overbroad. The sweeping and

     confusing language of the orders creates substantial uncertainty as to the type of speech

     that is barred. This uncertainty has chilled a broad range of protected speech on the part

     of Plaintiffs, which renders each order unconstitutionally vague for overbreadth.

162. “Where a vague statute abuts upon sensitive areas of basic First Amendment freedoms,

     it operates to inhibit the exercise of those freedoms. Uncertain meanings inevitably lead

     citizens to steer far wider of the unlawful zone . . . than if the boundaries of the

     forbidden areas were clearly marked.” Grayned v. City of Rockford, 408 U.S. 104, 391

     (1972) (quotations and citations omitted). A restriction on speech is unconstitutionally

     vague if “a substantial number of sweep.” Ams. For Prosperity Found. V. Bonta, 594

     U.S. at 615; United States v. Hansen, 599 U. S. 762, 770 (2023) (speech restriction is

     void for vagueness if it “prohibits a substantial amount of protected speech relative to

     its plainly legitimate sweep”).

163. This test is met here. The language of the orders encompasses all speech critical of the

     government, its institutions, American culture, and the government of Israel. Its scope is

     unprecedented in the context of First Amendment restrictions. The vast majority of the

     orders’ applications sweep-up clearly protected speech. In fact, the orders criminalize

     no type of activity or speech that isn’t already barred by either the inadmissibility and

     deportability statutes (8 U.S.C. §§1182 and 1227, respectively) or the criminal “material

     support for terrorism” statute (18 U.S.C. §2339B). The ban on expressing a “hostile




                                             34
       Case 1:25-cv-01121         Document 1         Filed 04/15/25   Page 35 of 41




      attitude” toward American “culture” is of particular concern as EO1 does not define the

      elements of American “culture” that are to be insulated from criticism.

 164. The broad and sweeping character of the Orders will lead reasonable individuals to self-

      censor speech that is plainly protected for fear of transgressing the vague boundaries

      enumerated therein. The Orders are overbroad and vague in violation of the First

      Amendment.

                Count 4: Violation of the Administrative Procedure Act

(Arbitrary and Capricious Agency Action; Failure to Provide Notice and Opportunity to

                                 Respond) (5 U.S.C. § 706)

                                On Behalf of Plaintiff Sultan

 165. Plaintiff realleges and incorporates by reference all preceding paragraphs of this

      Complaint as if fully set forth herein.

 166. Under the Administrative Procedure Act (“APA”), agency action must not be arbitrary,

      capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

      706(2)(A). Agency actions must also comply with procedural requirements, including

      fair notice and the opportunity to respond. 5 U.S.C. § 706(2)(D).

 167. Defendants acted arbitrarily and capriciously by failing to provide Plaintiff notice and

      an opportunity to respond to alleged visa revocation or SEVIS termination, in violation

      of both 5 U.S.C. § 706(2)(D) and DHS’s own regulations at 8 C.F.R. § 214.3(g)(2).

 168. Defendants acted arbitrarily and capriciously in violation of 5 U.S.C. § 706(2)(A) by

      failing to provide notice and opportunity to respond as required by 8 C.F.R. §

      214.3(g)(2).




                                                35
      Case 1:25-cv-01121         Document 1       Filed 04/15/25      Page 36 of 41




169. Plaintiff Sultan was a lawful F-1 nonimmigrant student visa holder, in full compliance

     with all immigration regulations, including maintaining a full course of study and

     SEVIS registration.

170. Without prior notice, explanation, or an opportunity to respond, the U.S. Department of

     State revoked Plaintiff’s F-1 visa. Plaintiff was not informed of the reason for

     revocation, nor was any process afforded to contest the revocation or correct any

     purported deficiencies.

171. Defendants have no statutory or regulatory authority to terminate Plaintiff’s SEVIS

     record or status based simply on revocation of a visa. Additionally, nothing in Plaintiff’s

     criminal history or other history provides a basis for termination.

172. According to the U.S. Department of State’s own guidelines, including the Foreign

     Affairs Manual (9 FAM 403.11), consular officers are instructed—when practicable—

     to notify a visa holder of the intent to revoke and to allow the individual to respond

     prior to revocation. Defendants failed to make any such effort or determination

     regarding practicability.

173. Defendants’ revocation of Plaintiff’s visa without any individualized consideration,

     notice, or opportunity to respond constitutes arbitrary and capricious action, in violation

     of the APA, and fails to meet minimal standards of due process and fair administrative

     practice.

174. Defendants’ actions have deprived Plaintiff of lawful immigration status, educational

     opportunities, and due process protections to which Plaintiff is entitled under federal

     law.




                                            36
      Case 1:25-cv-01121         Document 1        Filed 04/15/25      Page 37 of 41




175. Plaintiff has suffered and continues to suffer irreparable harm as a direct result of the

     visa revocation and the unlawful denial of procedural protections.

                      Count 5: Violation of the Due Process Clause

                         (U.S. Constitution, Fifth Amendment)

                               On Behalf of Plaintiff Sultan

176. Plaintiffs incorporates the preceding paragraphs as if fully set forth herein.

177. The Constitution establishes due process rights for “all ‘persons’ within the United

     States, including [noncitizens], whether their presence here is lawful, unlawful,

     temporary, or permanent.” Black v. Decker, 103 F.4th 133, 143 (2d Cir. 2024) (quoting

     Zadvydas v. Davis, 533 U.S. 678, 693 (2001)).

178. Procedural due process requires that the government be constrained before it acts in a

     way that deprives individuals of property interests protected under the Due Process

     Clause of the Fifth Amendment.

179. Once a student is lawfully admitted to the United States in F-1 status and complies with

     the regulatory requirements of that status, the continued registration of that student in

     SEVIS is governed by specific and mandatory regulations.

180. Because these regulations impose mandatory constraints on agency action and because

     SEVIS registration is necessary for a student to remain enrolled as an international

     student, Plaintiff has a constitutionally protected property interest in their SEVIS

     registration. See ASSE Int'l, Inc. v. Kerry, 803 F.3d 1059 (9th Cir. 2015)(recognizing

     protected property interest in participating in exchange visitor program); Brown v.

     Holder, 763 F.3d 1141, 1148 (9th Cir. 2014) (recognizing protected property interest in

     nondiscretionary application for naturalization).



                                             37
      Case 1:25-cv-01121         Document 1        Filed 04/15/25      Page 38 of 41




181. “Plaintiff has a constitutionally protected property interest in his continued enrollment,

     F-1 status, and SEVIS registration, consistent with established precedents recognizing

     protected interests of nonimmigrant students. See ASSE Int’l, Inc., 803 F.3d at 1070.

182. Defendants terminated Plaintiff's SEVIS record without prior notice or opportunity to

     contest, violating procedural due process.

183. Defendants terminated Plaintiff’s SEVIS record based on improper grounds without

     prior notice and without providing Plaintiff an opportunity to respond. The failure to

     provide notice of the facts that formed the basis for the SEVIS termination is a violation

     of due process under the Fifth Amendment

 Count 6: Violation of the Immigration and Nationality Act, and Accardi Doctrine

                                 (8 U.S.C. §§ 1227, 1182)

                               On Behalf of Plaintiff Sultan

184. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

185. The government has adopted a policy of targeting noncitizens for removal based on

     First Amendment protected speech advocating for Palestinian rights. This policy is

     arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary

     to law, and in excess of statutory jurisdiction, 5 U.S.C. § 706(2)(A)-(B), and violates the

     Accardi doctrine and federal agencies’ own rules, see Accardi v. Shaughnessy, 347 U.S.

     260 (1954).

186. In addition, the Secretary of State’s determination that Plaintiffs’ “presence or

     activities” would carry “potentially serious adverse foreign policy consequences for the

     United States” is arbitrary and capricious, an abuse of discretion, contrary to




                                             38
      Case 1:25-cv-01121         Document 1        Filed 04/15/25      Page 39 of 41




     constitutional right, contrary to law, and in excess of statutory jurisdiction. 5 U.S.C. §

     706(2)(A), (B), (C).

187. The Secretary of State’s personal determination that Plaintiffs’ protected past, current,

     or expected speech, beliefs, statements, or associations may form a basis to deport him

     because his presence “would compromise a compelling United States foreign policy

     interest” is arbitrary and capricious, an abuse of discretion, contrary to constitutional

     right, contrary to law, and in excess of statutory jurisdiction. 5 U.S.C. § 706(2)(A), (B),

     (C).

188. Under Accardi v. Shaughnessy, 347 U.S. 260 (1954), Defendants were obligated to

     comply strictly with their published policies governing SEVIS termination and visa

     revocation.

189. Defendants violated the Accardi doctrine by failing to follow ICE’s own regulations,

     specifically 8 C.F.R. § 214.1(d), governing circumstances for lawful termination of

     SEVIS records.

190. Defendants violated their own procedures by initiating termination without proper

     statutory or regulatory grounds, rendering their actions unlawful.

                                 PRAYER FOR RELIEF

A. Plaintiff seeks a preliminary and permanent injunction restraining Defendants from

   further adverse immigration actions taken in retaliation for Plaintiff’s protected First

   Amendment activities.

B. Declare Defendants' Policy and Executive Orders unconstitutional under the First

   Amendment as impermissible viewpoint discrimination and retaliation.




                                             39
        Case 1:25-cv-01121          Document 1        Filed 04/15/25       Page 40 of 41




  C. Order Defendants to immediately reinstate Plaintiff Sultan’s SEVIS record and F-1 status,

      including the removal of any derogatory information resulting from the unlawful

      termination.

  D. Order Defendants to expunge all immigration enforcement records created or maintained

      regarding Plaintiff as a result of the retaliatory actions taken.

  E. Issue a permanent injunction barring Defendants from surveilling, detaining, or deporting

      Plaintiff based solely or primarily on constitutionally protected speech activities.

  F. Order Defendants to implement procedural safeguards ensuring that nonimmigrant

      students receive adequate notice and an opportunity to respond prior to visa revocation or

      SEVIS termination.

  G. Require Defendants to report periodically to the Court to ensure ongoing compliance with

      the ordered relief.

  H. Order Defendants to issue a public clarification acknowledging the unlawful nature of

      their actions, explicitly stating that participation in lawful political speech shall not serve

      as a basis for immigration enforcement or retaliation.

  I. Order Defendants to implement procedural safeguards ensuring nonimmigrant students

      receive notice and opportunity to respond prior to visa revocation or SEVIS termination.

  J. Award Plaintiff reasonable attorneys' fees, litigation costs, and any other relief as the

      Court deems just and proper pursuant to the Equal Access to Justice Act, 28 U.S.C. §

      2412, and other applicable statutes.

Dated: April 15, 2025                              Respectfully Submitted,

                                                   /s/ Jana Al-Akhras
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                                                40
Case 1:25-cv-01121   Document 1     Filed 04/15/25    Page 41 of 41




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                             41
